                                          Case 3:16-cr-00298-WHO Document 29 Filed 01/20/21 Page 1 of 3




                                   1

                                   2

                                   3

                                   4                                    UNITED STATES DISTRICT COURT

                                   5                                   NORTHERN DISTRICT OF CALIFORNIA

                                   6

                                   7     UNITED STATES OF AMERICA,                            Case No. 16-cr-00298-WHO-1
                                                          Plaintiff,
                                   8
                                                                                              ORDER DENYING COMPASSIONATE
                                                    v.                                        RELEASE
                                   9

                                  10     MICHAEL IGNACIO,                                     Re: Dkt. No. 25
                                                          Defendant.
                                  11

                                  12          Defendant Michael Ignacio moves for compassionate release from Lompoc United States
Northern District of California
 United States District Court




                                  13   Penitentiary (“USP Lompoc”) pursuant to 18 U.S.C. § 3582(c)(1)(A) because he is of heightened

                                  14   risk of COVID-19 infection as a result of the conditions of his incarceration, his high blood

                                  15   pressure and obesity. I may grant his motion only if “extraordinary and compelling reasons

                                  16   warrant such a reduction.” 18 U.S.C. § 3582(c)(1)(A)(i). The government concedes that Ignacio is

                                  17   in the high-risk category for COVID-19 infection, but argues that he is a danger to the community

                                  18   and that consideration of the Section 3553(a) factors should compel me to deny the motion. Gov’t

                                  19   Response, Dkt. No. 948. I agree. Ignacio’s motion is DENIED.

                                  20              The phrase “extraordinary and compelling reasons” has been defined by the United States

                                  21   Sentencing Commission in the application notes to U.S.S.G. § 1B1.13. There are five

                                  22   circumstances that qualify as “extraordinary and compelling reasons” to grant compassionate

                                  23   release.

                                  24          The first two relate to the defendant’s medical condition. The “extraordinary and

                                  25   compelling reasons” standard is satisfied if “[t]he defendant is suffering from a terminal illness

                                  26   (i.e., a serious and advanced illness with an end of life trajectory).” U.S.S.G. § 1B1.13 cmt.

                                  27   n.1(A)(i). It is also satisfied by “a serious physical or medical condition, . . . serious functional or

                                  28   cognitive impairment, or . . . deteriorating physical or mental health because of the aging process .
                                          Case 3:16-cr-00298-WHO Document 29 Filed 01/20/21 Page 2 of 3




                                   1   . . that substantially diminishes the ability of the defendant to provide self-care within the

                                   2   environment of a correctional facility and from which he or she is not expected to recover.” Id. §

                                   3   1B1.13 cmt. n.1(A)(ii). The defendant’s age qualifies as a third extraordinary and compelling

                                   4   reason if, “[t]he defendant (i) is at least 65 years old; (ii) is experiencing a serious deterioration in

                                   5   physical or mental health because of the aging process; and (iii) has served at least 10 years or 75

                                   6   percent of his or her term of imprisonment, whichever is less.” Id. § 1B1.13 cmt. n.1(B). Family

                                   7   circumstances requiring the defendant to care for minor children or a spouse or registered partner

                                   8   are a fourth qualifying reason. Id. § 1B1.13 cmt. n.1(C). Fifth, a catch-all provides for relief if,

                                   9   “[a]s determined by the Director of the Bureau of Prisons, there exists in the defendant’s case an

                                  10   extraordinary and compelling reason other than, or in combination with, the reasons described in

                                  11   subdivisions (A) through (C).” Id. § 1B1.13 cmt. n.1(D).

                                  12           Ignacio suffers from high blood pressure and obesity, which puts him in the high-risk
Northern District of California
 United States District Court




                                  13   category. The government does not dispute that Ignacio is in the high-risk category that would

                                  14   qualify as an “extraordinary and compelling” reason for release. Gov’t Response at 12- 14.

                                  15           However, being in a high-risk category in prison, alone, does not compel the conclusion

                                  16   that he should be released. I also need to consider if Ignacio is a danger to others; I cannot grant

                                  17   the motion if he is. U.S.S.G. § 1B1.13(2).

                                  18           In this case, Ignacio pleaded guilty to possession with intent to distribute 1.875 kilos of

                                  19   methamphetamine and being a felon in possession of a firearm. Probation recommended that he

                                  20   receive the Career Criminal enhancement because he has been convicted for ten felonies; seven for

                                  21   controlled substances and three firearms convictions. I did not apply the enhancement, but that

                                  22   does not take away from the extensive nature of his criminal history. And while Ignacio argues

                                  23   that his offense was not violent, I need not describe the devastated lives of the addicts left in the

                                  24   wake of his dealing. This was a very serious offense.

                                  25           I also take note that within a year of Ignacio’s release from state prison on July 11, 2015,

                                  26   he had been arrested for a drug offense on January 5, 2016 and for these offenses on May 17,

                                  27   2016. He has served 56 months of a 152-month sentence (36 months below the low end of the

                                  28   Guideline range). It appears that he has conducted himself well during his incarceration. He has
                                                                                           2
                                          Case 3:16-cr-00298-WHO Document 29 Filed 01/20/21 Page 3 of 3




                                   1   taken available drug classes and worked as an art teacher—he is a talented artist—and has retained

                                   2   his good time credit. But in light of Ignacio’s criminal history and the gravity of the offenses for

                                   3   which he has been convicted, particularly the ones on which I sentenced him, I conclude that he

                                   4   remains a danger to others. Because of that, he may not be released. U.S.S.G. § 1B1.13(2).

                                   5          Consideration of the 18 U.S.C. § 3553(a) factors nets the same result. Ignacio has served

                                   6   less than half of the 152-month sentence I gave him. With good time credits, his projected release

                                   7   date is March 3, 2027; he has been in custody since May 17, 2016. His sentence is admittedly

                                   8   long but so is his criminal history, and he committed a very serious crime. He was a danger to the

                                   9   community when I sentenced him, and the fact that he has had a clean disciplinary record in prison

                                  10   does not alter the reasons I concluded that his sentence provided just punishment and protected the

                                  11   public from future crime. Given his long criminal history and the failure of his prior stint in prison

                                  12   to make any impact on his criminal behavior, the purposes of sentencing are still best served by
Northern District of California
 United States District Court




                                  13   Ignacio’s completion of the sentence.

                                  14          The motion is denied.

                                  15          IT IS SO ORDERED.

                                  16   Dated: January 20, 2021

                                  17
                                                                                                    William H. Orrick
                                  18                                                                United States District Judge
                                  19

                                  20

                                  21

                                  22

                                  23

                                  24

                                  25

                                  26
                                  27
                                  28
                                                                                         3
